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                        United States District Court
                         Middle District of Florida
                           Jacksonville Division


UNITED STATES SECURITIES AND
EXCHANGE COMMISSION,

      Plaintiff,

v.                                              NO. 3:23-CV-539-BJD-PDB


CEDRIC DEWAYNE GRIFFIN,

      Defendant.



                            Entry of Default

      Pursuant to Fed. R. Civ. P. 55(a), default is entered against the
Defendant Cedric Dewayne Griffin, in Jacksonville, Florida, on the 8th day
of October, 2024.




                                   ELIZABETH M. WARREN, CLERK

                                   s/ Angela Loeschen, Deputy Clerk



Copies furnished to:

Counsel of Record
